             Case 2:12-cr-00169-TLN Document 230 Filed 04/11/14 Page 1 of 2


 1   GILBERT A. ROQUE
     Attorney at Law
 2   California State Bar Number 074966
     913 Court Street
 3   Woodland, California 95695
     (530) 666-1935
 4
     Attorney for Defendant
 5   DANTE BARBARIN
 6
                               UNITED STATES DISTRICT COURT
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )              2:12-CR-169-MCE
10                                     )
                Plaintiff,             )             STIPULATION AND
11                                     )             ORDER FOR TEMPORARY
     vs.                               )             RELEASE TO ATTEND
12                                     )             MEMORIAL SERVICE
     DANTE BARBARIN,                   )
13                                     )
                Defendant.             )
14                                     )
     _________________________________ )
15
            Defendant Dante Barbarin, by and through his counsel, Gilbert A. Roque, and
16
     Plaintiff United States of America, through Assistant United States Attorney Jason Hitt,
17
     hereby stipulate to the following:
18
            The parties agree to a temporary release of Mr. Barbarin on Friday, April 25th,
19
     2014, from 10:00 a.m. to 8:00 p.m. to attend the memorial service of his maternal
20
     grandmother.    Mr. Barbarin is currently in custody at the Sacramento County Jail
21
     awaiting resolution of the above case.
22
            Mr. Barbarin’s grandmother, Mary Whitlock McCall, passed away on March 31,
23
     2014. The memorial service is scheduled for April 25th, 2014, at the Elks Lodge, #559,
24
     2850 Redwood Parkway, Vallejo, California, from 1:00 p.m. to 5:00 p.m.
25




                                               -1-
              Case 2:12-cr-00169-TLN Document 230 Filed 04/11/14 Page 2 of 2


 1          The Government does not oppose this request so long as Mr. Barbarin is
 2   accompanied by an investigator during the entire period of his temporary release.
 3   Therefore, defense counsel has arranged for Investigator Victoria Corona to accompany
 4   Mr. Barbarin to the memorial service.
 5          Ms. Corona will pick up Mr. Barbarin at the Sacramento County Main Jail,
 6   transport him to the memorial service and return him to the Sacramento County Main
 7   Jail immediately after the memorial service. Mr. Barbarin will remain in the custody of
 8   Ms. Corona the entire time of his release. Ms. Corona will keep strict control over Mr.
 9   Barbarin at all times.
10          For the above reasons. Defendant Dante Barbarin respectfully requests that the
11   Court allow this temporary release.
12          IT IS SO STIPULATED.
13                                                  Respectfully submitted,
14
     Dated: April 10, 2014                          /s/ Gilbert A. Roque
15
                                                    GILBERT A. ROQUE
16                                                  Attorney for Defendant
                                                    DANTE BARBARIN
17
     Dated: April 10, 2014                          /s/ Jason Hitt by Gilbert A. Roque
18
                                                    JASON HITT
19                                                  Assistant United States Attorney
                                                    Attorney for Plaintiff
20

21          IT IS SO ORDERED.
22   Dated: April 11, 2014
                                               _____________________________________
23                                             CAROLYN K. DELANEY
                                               UNITED STATES MAGISTRATE JUDGE
24

25




                                              -2-
